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              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                             :
Dr. Jeffrey R. Brownson,                     :
                                             :
             Plaintiff,                      :      CIVIL ACTION NO.
                                             :
             v.                              :      JURY TRIAL DEMANDED
                                             :
Pennsylvania State University                :
                                             :
             Defendant.                      :

                                  THE PARTIES

1. Plaintiff Jeffrey R. Brownson, Ph.D. (“Dr. Brownson”) lives in State College,

   PA and is a former Associate Professor in the College of Earth and Mineral

   Sciences at Defendant Pennsylvania State University.

2. Defendant Pennsylvania State University (hereinafter “Penn State”) is a state

   related institution of higher education located at 201 Old Main, University Park,

   Pennsylvania 16802.


                           JURISDICTION AND VENUE

3. This Court has jurisdiction over the parties and claims pled herein pursuant to

   28 U.S.C. § 1331.

4. This Court has supplemental jurisdiction over related state law claims pled

   herein pursuant to 28 U.S.C. § 1367(a).
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5. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and 42 U.S.C. §

   2000e-5(f)(3).

                              EEOC PROCEEDINGS

6. Dr. Brownson filed charges of sex and disability discrimination with the Equal

   Employment Opportunity Commission (“EEOC”) docketed September 30,

   2020.

7. The EEOC issued a Right to Sue letter to the Plaintiff dated April 5, 2021, and

   this lawsuit is brought within ninety (90) days of the receipt of the Right to Sue

   letter.

             PERTINENT FEDERAL STATUTES AND REGULATIONS

                                       Title VII

8. Congress prohibited sex discrimination by employers in Title VII of the Civil

   Rights Act of 1964: “(a) Employer practices. It shall be an unlawful

   employment practice for an employer — (1) to fail or refuse to hire or

   to discharge any individual, or otherwise to discriminate against any individual

   with respect to his compensation, terms, conditions, or privileges of

   employment, because of such individual’s race, color, religion, sex, or national

   origin; or (2) to limit, segregate, or classify his employees or applicants for

   employment in any way which would deprive or tend to deprive any individual

   of employment opportunities or otherwise adversely affect his status as

   an employee, because of such individual’s race, color, religion, sex, or national

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   origin.” 42 U.S.C. § 2000e

                         The Americans with Disabilities Act

                                        Title I

9. Congress prohibited discrimination against people with disabilities by

   employers in Title I of the ADA: “No covered entity shall discriminate against a

   qualified individual on the basis of disability in regard to job application

   procedures, the hiring, advancement, or

   discharge of employees, employee compensation, job training, and other terms,

   conditions, and privileges of employment. 42 U.S.C. § 12112.”

                                        Title II

10. Congress prohibited discrimination against people with disabilities by public

   entities in Title II of the ADA: “[N]o qualified individual with a disability shall,

   by reason of such disability, be excluded from participation in or be denied the

   benefits of the services, programs, or activities of a public entity, or be

   subjected to discrimination by any such entity.” 42 U.S.C. § 12132; 28 C.F.R. §

   35.130(a).

                                The Rehabilitation Act

11. Congress prohibited discrimination against people with disabilities by public

   accommodations, and/or the persons associated with their operation, in the

   Rehabilitation Act: “No otherwise qualified individual with a disability in the



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   United States, as defined in section 705(20) [“Individual with a Disability”] of

   this title, shall, solely by reason of her or his disability, be excluded from the

   participation in, be denied the benefits of, or be subjected to discrimination

   under any program or activity receiving Federal financial assistance.” 29

   U.S.C. § 794(a).

                                  BACKGROUND

12. Dr. Brownson is transgender (“trans”).

13. Trans is likely due to brain neuroanatomy and the formation of that brain

   neuroanatomy in the womb.

14. As noted by Dr. Robert Sapolsky, professor of neuroscience at Stanford

   University and one of the leading scholars of trans science: “[I]t’s not the case

   that transgender individuals think they’re a different gender than they actually

   are. It’s more like they got stuck with bodies of a different sex from who they

   actually are.” Sapolsky, R.M., Behave, 216 n. (Penguin 2017.)

15. Dr. Brownson’s gender is fundamental and an immutable characteristic.

                               Dr. Brownson Has GD

16. Trans people are often treated as outcasts, and are mocked, harassed, abused,

   and hurt by others which causes distress in trans people and leads to Gender

   Dysphoria (“GD”).

17. GD is a medical and therapeutic diagnosis “associated with clinically



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   significant distress or impairment in social, occupational, or other important

   areas of functioning” for the trans person. Diagnostic and Statistical Manual of

   Mental Disorders, 5th Ed. (“DSM-V” at 302.85).

18. Trans people are diagnosed as suffering from GD when they have “clinically

   significant distress” associated with being trans.

19. GD is a disability in that it substantially impairs one or more major life

   activities, including, but not limited to, neurological, brain, social, and

   occupational functions.

20. Dr. Brownson is a trans person who has been diagnosed with GD.

21. Dr. Brownson belongs to the disadvantaged class of trans people with GD.

22. Dr. Brownson is a person with a disability within the definitions of the ADA

   and the Rehabilitation Act because of an actual or perceived physical or mental

   impairment whether or not the impairment limits or is perceived to limit a major

   life activity.

23. Defendant is aware that trans people with GD, including Dr. Brownson, may be

   a person with a disability as a result of their GD.

               Defendant Has Discriminated Against Dr. Brownson

24. Defendant has discriminated against Dr. Brownson on the basis of Dr.

   Brownson's gender and on the basis of Dr. Brownson’s disability by, inter alia,

   denying tenure to Dr. Brownson.



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25. Similarly situated faculty outside of those protected classes were treated more

   favorably than Dr. Brownson and granted tenure and promotion.

26. Penn State’s justifications for the denial of tenure and promotion are false and a

   pretext for discrimination.

27. As a result of the discrimination, Dr. Brownson has suffered financial and

   compensatory damages.

28. Penn State falsely and pretextually destroyed Dr. Brownson’s career.

                     Dr. Brownson Academic Achievements

29. Dr. Brownson has a Bachelor of Science (B.Sc.) in Geology from the

   University of North Dakota.

30. Dr. Brownson has a Masters of Science (M.S.) in Geology from the University

   of Wisconsin—Madison.

31. Dr. Brownson has a Doctorate (Ph.D.) in Environmental Science & Technology

   from the University of Wisconsin—Madison.

32. Dr. Brownson was a Postdoctoral Research Scientist at CNRS: Institut de

   Chimie et Matériaux de Paris-Est.

33. Dr. Brownson was a Postdoctoral Research Scientist at the University of

   Wisconsin.

34. Dr. Brownson joined the Graduate Faculty at Penn State in 2007 as an assistant

   professor, in the John and Willie Leone Family Department of Energy and



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   Mineral Engineering.

35. Dr. Brownson became an associate professor in 2013 also in the John and

   Willie Leone Family Department of Energy and Mineral Engineering.

36. Dr. Brownson was the only member of the Solar engineering faculty at Penn

   State, and was the Director of the Solar Ecology Program.

37. Dr. Brownson had published 31 papers in refereed journals, 10 as first author,

   as well as a book, with two more books in progress.

38. Dr. Brownson had advised six doctoral students and ten masters students.

39. Dr. Brownson directed and facilitated the collective works of the Solar

   Collaborative at Penn State, including students, faculty and staff. The Solar

   Collaborative pursued laboratory, computational, and field research for solar

   energy interests, largely aligned with solar photovoltaics as they are currently

   being deployed in society.

40. Dr. Brownson had pioneered Penn State’s 500 acre solar photovoltaic farm,

   with groundbreaking in September 2019. Currently under construction, it will

   be the largest in PA to date. The farm will contribute a $14 million savings in

   energy costs for Penn State, and will yield decades of educational and research

   opportunities throughout Penn State. This farm is an outcome of Dr.

   Brownson’s extensive research, their teaching efforts in solar design and

   stakeholder engagement to over 1000 students, and their service creating



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   sustainability and solar degree programs while at Penn State University.

                         Dr. Brownson is Denied Tenure

41. On March 25, 2020 Dr. Brownson received notice they were being denied

   tenure as they was purportedly weak in research.

42. The reason for denying Dr. Brownson tenure is entirely pretextual. Others who

   began at the same time have done far less yet have been granted tenure.

43. For example, out of eight candidates who began at the same time as Dr.

   Brownson in 2007, seven were granted tenure. (The one that wasn’t, Dr. Chen,

   sued Penn State for racial discrimination.)

44. For example, two of the seven, Drs. Forest and LaFemina, had only one first-

   authored paper in their dossiers. Dr. Forest’s research activities, however, were

   uniformly praised by the college-level reviewers, and Dr. LaFemina’s record

   was explained away in the grant.

45. For example, Dr. Forest, was “noted” for his advising record, yet he completed

   only two masters students.

46. For example, none of Dr. Blumsack’s publications are in journals that would be

   considered first, second, or perhaps even third tier, according to a reviewer.

47. The Dean himself is responsible for inconsistent and incoherent statements, on

   the one hand failing to recommend tenure for Dr. Brownson in February 2020,

   on the other writing to Dr. Brownson on July 30, 2020 that “ Frey, I very much



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   appreciate your leadership in the Solar Collaborative; I know your work will

   have a lasting impact on Penn State.”

48. In fact Penn State’s Faculty Tenure Rates report dated March 2021, has no

   category for any trans people being granted tenure. Available at

   https://opair.psu.edu/files/2019/05/Tenure-Flow-2011-2012-and-2013-

   20210318.pdf

49. Dr. Brownson’s contributions to Penn State, in the Dean’s words, “will have a

   lasting impact” on Penn State.

50. Penn State’s failure to grant tenure and the reasons given were entirely

   pretextual. They demonstrate different treatment of Dr. Brownson to the

   comparators and are inconsistent and incoherent.

51. The denial of tenure meant that Penn State had terminated Dr. Brownson’s

   career at Penn State.

52. Penn State’s actions have damaged Dr. Brownson’s life and career.

53. Penn State acted with malice and/or reckless indifference, including but not

   limited to acting with transphobic hatred.

54. Penn State is aware that trans people with GD, including Dr. Brownson, may be

   a person with a disability as a result of their GD.

55. Dr. Brownson could have been reasonably accommodated but for Penn State’s

   lack of good faith.



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  COUNT I– VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT
                   SEX DISCRIMINATION

56. Dr. Brownson restates and realleges all previous paragraphs as though fully set

   forth here.

57. Dr. Brownson’s gender means they are in a protected class.

58. Dr. Brownson was qualified for their position and able to perform the essential

   functions.

59. Penn State created a hostile environment and terminated Dr. Brownson from

   their position because of their gender and replaced them by someone who is not

   trans.

60. Penn State’s conduct was severe and/or pervasive, created a hostile or abusive

   working environment, was unwelcome, and was based on Dr. Brownson’s

   gender.

61. Dr. Brownson suffered adverse employment actions, including but not limited

   to, being denied promotion and tenure.

62. Circumstances exist giving rise to the inference that Dr. Brownson was denied

   tenure and promotion because of their sex including, but not limited to, that

   similarly situated non trans employees with similar or less favorable

   performance than Dr. Brownson were awarded tenure and promotion.

63. Defendant’s justifications for its denial of Dr. Brownson’s tenure and

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   promotion are false and a pretext for discrimination.

                  COUNT II – WRONGFUL TERMINATION

64. Dr. Brownson restates and realleges all previous paragraphs as though fully set

   forth here.

65. Penn State’s actions in terminating Dr. Brownson’s employment infringed upon

   their protected rights as set forth herein, including their protected rights under

   the ADA and Rehabilitation Act.

66. Penn State is liable for wrongful termination of Dr. Brownson.

      COUNT III – VIOLATION OF THE PENNSYLVANIA HUMAN
      RELATIONS ACT (43 P.S. §§ 951-963) SEX DISCRIMINATION

67. Dr. Brownson restates and realleges all previous paragraphs as though fully set

   forth here.

68. Dr. Brownson’s gender means they are in a protected class under the PHRA.

69. Dr. Brownson was qualified for their position and able to perform the essential

   functions.

70. Penn State created a hostile environment and terminated Dr. Brownson from

   their position because of their gender and replaced them by someone who is not

   trans.

71. Penn State’s conduct was severe and/or pervasive, created a hostile or abusive

   working environment, was unwelcome, and was based on Dr. Brownson’s

   gender.

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72. Dr. Brownson suffered adverse employment actions, including but not limited

   to, being denied promotion and tenure.

73. Circumstances exist giving rise to the inference that Dr. Brownson was denied

   tenure and promotion because of their sex including, but not limited to, that

   similarly situated non trans employees with similar or less favorable

   performance than Dr. Brownson were awarded tenure and promotion.

74. Defendant’s justifications for its denial of Dr. Brownson’s tenure and

   promotion are false and a pretext for discrimination.

            COUNT IV – VIOLATION OF TITLE I OF THE ADA

75. Dr. Brownson restates and realleges all previous paragraphs as though fully set

   forth here.

76. Dr. Brownson’s has a disability – GD – within the meaning of the ADA.

77. Dr. Brownson is a “qualified individual” able to perform the essential functions

   of their position.

78. Dr. Brownson’s GD was a motivating factor in Penn State’s termination.

79. Penn State acted with deliberate indifference to Dr. Brownson’s rights under the

   ADA.

80. As a direct result of the aforesaid unlawful discriminatory practices engaged in

   by Penn State in violation of the ADA, Dr. Brownson has sustained harm.

81. As a further direct result of the aforesaid unlawful discriminatory practices



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   engaged in by Penn State in violation of the ADA, Dr. Brownson has suffered

   severe emotional distress, embarrassment, humiliation, and loss of self-esteem.

82. Dr. Brownson seeks redress for Penn State’s violation of their rights under 42

   U.S.C. §12133.

            COUNT V – VIOLATION OF TITLE II OF THE ADA

83. Dr. Brownson restates and realleges all previous paragraphs as though fully set

   forth here.

84. Dr. Brownson has a disability – GD – within the meaning of the ADA.

85. Penn State is a public entity within the meaning of the ADA.

86. Penn State’s treatment of Dr. Brownson violates the ADA by discriminating

   against Dr. Brownson on the basis of their disability.

87. Penn State acted with deliberate indifference to Dr. Brownson’s rights under the

   ADA.

88. As a direct result of the aforesaid unlawful discriminatory practices engaged in

   by Penn State in violation of the ADA, Dr. Brownson has sustained harm.

       COUNT VI – VIOLATION OF THE REHABILITATION ACT

89. Dr. Brownson restates and realleges all previous paragraphs as though fully set

   forth here.

90. Dr. Brownson is a qualified person with a disability within the meaning of the

   Rehabilitation Act.



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91. Penn State accepts federal financial assistance and has done so at all times

   relevant to this Complaint and has “program[s] . . . receiving Federal financial

   assistance” for the purposes of the Rehabilitation Act.

92. Penn State has violated the Rehabilitation Act by discriminating against Dr.

   Brownson solely on the basis of their disability.

93. Penn State’s termination of Dr. Brownson violates the Rehabilitation Act and is

   done with deliberate indifference.

94. As a direct result of Penn State’s unlawful and discriminatory practices in

   violation of the Rehabilitation Act, Dr. Brownson has sustained harm.

95. As a direct result of Penn State’s unlawful and discriminatory practices in

   violation of the Rehabilitation Act, Dr. Brownson has suffered severe emotional

   distress, embarrassment, humiliation, and loss of self-esteem.

96. Dr. Brownson seeks redress for Defendants’ violation of their rights under 29

   U.S.C. §794(a).

    COUNT VII – VIOLATION OF THE PENNSYLVANIA HUMAN
 RELATIONS ACT (43 P.S. §§ 951-963) DISABILITY DISCRIMINATION

97. Dr. Brownson restates and realleges all previous paragraphs as though fully set

   forth here.

98. Dr. Brownson is a protected person with a disability within the meaning of the

   PHRA.

99. Penn State has violated the PHRA by discriminating against Dr. Brownson

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   solely on the basis of their disability.

100. Dr. Brownson is a “qualified individual” able to perform the essential

   functions of their position.

101. Dr. Brownson’s GD was a motivating factor in Penn State’s termination.

102. Penn State acted with deliberate indifference to Dr. Brownson’s rights.

103. As a direct result of the aforesaid unlawful discriminatory practices engaged

   in by Penn State, Dr. Brownson has sustained harm.

104. As a further direct result of the aforesaid unlawful discriminatory practices

   engaged in by Penn State, Dr. Brownson has suffered severe emotional distress,

   embarrassment, humiliation, and loss of self-esteem.




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                             PRAYER FOR RELIEF

WHEREFORE, Dr. Brownson respectfully requests that this Court:

   A. Award Dr. Brownson compensatory and punitive damages, attorneys’ fees,
      costs, and disbursements.

   B. Award Dr. Brownson such other and further relief as the Court may deem
      just and proper.

A trial by jury is demanded on all counts.

                                       Respectfully Submitted,


      Date: July 5, 2021                /s/ Julie Chovanes
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